        Case 1:23-cr-00306-RC           Document 59       Filed 11/25/24     Page 1 of 3




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
       v.                                     )                   Case No: 1:23-CR-00306-RC
                                              )
TONEY SHELDON BRAY, AND                       )
ETHAN AARON BRAY,                             )
                                              )
               Defendants                     )

            UNOPPOSED MOTION TO CONTINUE SENTENCING HEARING

       COME NOW, the Defendant, ETHAN AARON BRAY, by and through counsel and

moves this Honorable Court to continue the Sentencing Hearing scheduled for February 7, 2025,

due to counsel’s scheduling conflict:

       1.      That on October 3, 2024, this Court set the sentencing hearing of Toney Sheldon

Bray and Ethan Aaron Bray for February 7, 2025. That following said setting, the undersigned

counsel for Ethan Bray has set a federal jury trial anticipated to last one month beginning

February 3, 2025, in the United States District Court - S.D. Miss in Cause No:

3:23-cr-118-HTW-ASH [Doc.401]. That due to the undersigned’s trial schedule a continuance of

the Sentencing Hearing in this matter is necessary.

       2.      That counsel for Ethan Bray has conferred with Assistant United States Attorney,

Sarah Martin on November 25, 2024, and Ms. Martin indicates that the United States has no

objection to a continuance of both Ethan Bray and Toney’s Bray’s sentencing hearing. That the

parties have discussed continuing the Sentencing hearing in this matter until the weeks of either

March 10th, March 17th, or March 24th in 2025.
        Case 1:23-cr-00306-RC          Document 59       Filed 11/25/24        Page 2 of 3




       3.      That Ethan Bray does not seek the continuance to delay justice, but rather due to

his counsel’s trial schedule and/or scheduling conflict on February 7, 2025.

       WHEREFORE PREMISES CONSIDERED, the Defendant, ETHAN AARON BRAY,

respectfully requests that the Court continue the Sentencing Hearing currently set for February 7,

2025, to a date during the weeks of March 10th, March 17th, or March 24th in 2025.

       RESPECTFULLY SUBMITTED this the 25th day of November, 2024.

                                                     ETHAN AARON BRAY, Defendant

                                             By:     /s/ Paul Chiniche
                                                     Paul Chiniche (MSB#101582/MS0012)
                                                     Chiniche Law Firm, PLLC.
                                                     Post Office Box 1202
                                                     Oxford, MS 38655
                                                     Telephone: 662.234.4319
                                                     Email: pc@chinichelawfirm.com
        Case 1:23-cr-00306-RC         Document 59       Filed 11/25/24     Page 3 of 3




                               CERTIFICATE OF SERVICE

I, Paul Chiniche, counsel for Defendant Ethan Aaron Bray hereby certify that I have as of this
date, filed the above and foregoing using the Court’s Electronic Filing System (ECF) which sent
a true and correct copy to counsel of record on the following person(s):

       Sarah C. Martin, AUSA
       United States Attorney’s Office
       601 D. Street, N.W.
       Washington, DC 20579
       Email: sarah.martin@usdoj.gov

       Jack E. Burkhead, AUSA
       United States Attorney’s Office
       555 Fourth Street, N.W.
       Washington, DC 20530
       Email: Jack.E.Burkhead@usdoj.gov

       M. Scott Davis (MSB#103225)
       Assistant Federal Public Defender
       1200 Jefferson Avenue, Suite 100
       Oxford, MS 38655
       Email: scott_davis@fd.org


SO CERTIFIED this the 25th day of November, 2024.

                                            By:    /s/ Paul Chiniche
                                                   Paul Chiniche (MSB#101582/MS0012)
